                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KENNETH FERENCE,                                  )
                                                  )
               Plaintiff,                         )       Civil Action No. 22-797
                                                  )       Magistrate Judge Maureen P. Kelly
                       v.                         )
                                                  )
ROMAN CATHOLIC DIOCESE                            )
OF GREENSBURG,                                    )
                                                  )
               Defendant.                         )



         ORDER SCHEDULING INITIAL CASE MANAGEMENT CONFERENCE

         Pursuant to Local Rule 16.1 and Rules 16 and 26 of the Federal Rules of Civil Procedure,

an initial case management conference will be conducted in this case to discuss: the claims and

defenses, narrowing of the issues, expected discovery and related discovery procedures, the early

disposition of controlling questions of law, the probable extent of provable damages, the

possibility of settlement, and any other matter that will contribute to the prompt disposition of

the case.

I.           Federal Rule of Civil Procedure 26(f) – Meet and Confer Requirement

         As required by Rule 26(f) of the Federal Rules of Civil Procedure, the parties must, as

soon as practicable, and in any event no later than 6/13/2023, confer to “consider the nature and

basis of their claims and defenses and the possibilities for promptly settling or resolving the case;

make or arrange for the disclosures required by Rule 26(a)(1); discuss any issues about

preserving discoverable information; and develop a proposed discovery plan.” Fed. R. Civ. P.

26(f).

II.          Local Rule 16.2 – Alternative Dispute Resolution

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       The parties must also file a joint proposed initial scheduling order and a Stipulation

Selecting ADR Process, which can be found in the forms section on the Court’s website at

www.pawd.uscourts.gov.

       The parties are hereby notified that any identified neutral (court approved or private) is

required to become a registered user of the electronic case filing system in the United States

District Court for the Western District of Pennsylvania.     Counsel shall so notify their agreed

upon neutral and refer then to the Court’s website, noted above, for user registration forms.

Counsel shall confirm to the Court at the initial case management conference that the selected

neutral has completed this process.

       Therefore, IT IS HEREBY ORDERED that the initial case management conference will

be held on 6/27/23 at 2:00 p.m. by telephone before United States Magistrate Judge Maureen P.

Kelly. Trial counsel shall attend.

       IT IS FURTHER ORDERED that on or before 6/20/2023, or one week prior to the

scheduled conference date, the parties shall file a Rule 26(f) Report and either the Stipulation

Selecting ADR Process or the Expedited Docket Stipulation.

       SO ORDERED this 23rd day of May, 2023.

                                                     BY THE COURT:

                                                     /s/ Maureen P. Kelly
                                                     MAUREEN P. KELLY
                                                     UNITED STATES MAGISTRATE JUDGE




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